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    The Honorable P. Kevin Castel                              E justina.sessions@freshfields.com
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    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, NY 10007-1312
                                                         February 9, 2024


Re:      In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (PKC);
         Inform Inc. v. Google LLC, et al., No. 1:23:cv-01530 (PKC)


Dear Judge Castel:

        I write as counsel to Defendants Google LLC, Alphabet Inc., and YouTube LLC
(collectively, “Google”) requesting permission to move for an order compelling Plaintiff Inform
Inc. to provide adequate responses to Google’s First Set of Interrogatories. No conference is
scheduled at this time.

        In the five months since Google propounded its First Set of Interrogatories, Inform has
failed to substantively respond to almost any. Inform now claims that it cannot respond to
discovery because the company is no longer in business. That, of course, is no excuse for a
plaintiff that chose to bring a lawsuit. If Inform desires to avoid its discovery obligations, then it
should dismiss its Complaint. Otherwise, it must respond to Google’s Interrogatories. Despite
numerous meet and confers, Google has been unable to obtain meaningful responses to its
Interrogatories, and the parties are at an impasse.

I.       Relevant Background of the Discovery Dispute.

        Upon its tardy entrance into the MDL on February 1, 2023,1 Inform sought immediate
access to Google’s massive document and data productions, despite not yet having survived a
pending motion to dismiss. See ECF No. 525 at 4 (requesting that the Court “order [Google] to
produce the documents to Inform and proceed with the Inform Action as a coordinated Action”);
see also ECF No. 526. But Inform’s desire to participate in discovery was one-sided.

       The Court authorized Google to serve up to 25 interrogatories and five Local Rule
33.3(a) interrogatories on each named plaintiff. ECF No. 394 at 2. On August 23, 2023, Google
1
 Transfer Order, In re Google Digital Advertising Antitrust Litigation, MDL No. 3010, Dkt. No.
227 (J.P.M.L. Feb. 1, 2023).
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served Inform with its First Set of Interrogatories, which included 25 interrogatories and five
Local Rule 33.3(a) Interrogatories. See Ex. A. Inform’s responses and objections were due on
September 25, 2023. See Fed. R. Civ. P. 33(b)(2). Inform requested a one-week extension to
September 29, to which Google agreed, see Ex. B, and Inform served responses and objections
on September 29. These responses were insufficient. Where Inform purported to respond, those
“responses” consisted of quotations or paraphrases from Inform’s complaint or promises to look
for documents. See Ex. A. And Inform declined to respond at all the Local Rule 33.3(a)
Interrogatories.

        Over the course of the next three months, the parties exchanged letters and met and
conferred several times.2 See Exs. C, D, E, F, G, H, and I. After Inform’s extended delays,
Google made a final request that Inform properly respond to its interrogatories by January 5,
2024. No supplemental responses came. Instead, in a follow up letter, Inform requested an extra
week to supplement (until January 12), which Google obliged on the condition that Inform
would in fact meaningfully supplement its responses. But on January 12, Inform said it would
not supplement its responses at all except for Google’s L.R. 33.3(a) Interrogatories, which it
claimed it would send by the end of the day. Those few responses did not materialize until three
weeks later, on February 1. See Ex. J. Thus after three and a half months of evasions and delays,
the parties are at an impasse.

II.      The Court Should Compel Inform to Provide Adequate Responses to Google’s
         Interrogatories.

       Google’s interrogatories seek relevant information that should be within Inform’s
possession. Inform’s responses are almost uniformly incomplete and evasive. Inform ignores
the question at issue, provides no semblance of the information requested, and parrots back
vague allegations from its Second Amended Complaint. See Inform’s Second Amended Compl.
(“SAC”), ECF No. 535. The Court should require Inform to respond completely and in good
faith.

             A. Inform cannot answer with hypothetical future document productions.

        Inform’s responses to Interrogatory Nos. 2, 3, 5, 6, 9, 12-22, and 24 each include or
consist solely of a pledge to search for documents. These non-responses are improper for two
reasons.

        First, Inform is required to state the requested facts in response to Google’s
interrogatories, rather than point vaguely to unspecified documents (even if such documents
existed or had been produced). For example, Interrogatory No. 12 asks Inform to describe
whether it used or considered five of the Google product features Inform challenges in its
complaint. Inform recites a litany of objections and then provides a paragraph that says nothing
about whether Inform used any feature in question. Instead, Inform relays the non-sequitur
complaint “Defendants’ secret anticompetitive programs” were both “largely hidden from
Plaintiffs” and also “not entirely hidden.” Ex. A at 24. Inform also promises to look for
2
    The parties met and conferred on November 6, 2023, December 4, 2023, and January 19, 2024.
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documents that may or may not exist. Id.. But a future promise to search for and possibly
produce documents does not excuse Inform from answering the interrogatories, even if it also
has relevant documents. The interrogatories require Inform to provide basic facts relating to its
business and ad tech use, not to identify the evidence supporting Inform’s contentions, and thus
should be answered. See e.g., In re Savitt/Adler Litig., 176 F.R.D. 44, 49 (N.D.N.Y. 1997)
(determining that invoking Rule 33(d) is improper where interrogatory asked party to state facts
rather than identify evidence).

       Second, Inform’s (unstated) reliance on Rule 33(d) is plainly deficient. Rule 33(d)
requires the responding party to “specify[ ] the records that must be reviewed, in sufficient detail
to enable the interrogating party to locate and identify them as readily as the responding party
could.” Fed. R. Civ. P. 33(d). Inform has not specified any records at all in any response, and
does not even state whether it has any records that might bear on the question.

           B. Inform must respond to Interrogatories requesting basic facts about its
              business.

        Interrogatory Nos. 1, 3, 9, 10, 15, and 24 ask for basic facts about Inform’s business,
including facts such as legal entities under the Inform umbrella and dates of operation, the
websites that Inform supposedly partnered with, how Inform made money from ad sales, and
whether Inform sold in-app advertising inventory. These interrogatories are all relevant to the
claims at issue because Inform alleges that it suffered antitrust injury as a result of the way
Google designed its products and was “put out of business” by Google’s conduct related to
digital advertising. SAC ¶¶‌‌317-18; see Ohanian et al. v. Apple, 2022 WL 576314, at *2
(S.D.N.Y. Feb. 25, 2022) (“facts and circumstances of [plaintiff’s] use of [defendant’s and other
competitor services], are indisputably relevant to his claims”).

       Inform refuses to answer even these most basic questions. For example, Interrogatory
No. 3 asks Inform to identify its partner websites and the years of operation for each. Ex. A at
11. In its complaint, Inform alleges that it “owned the ad inventory for each of these 14,000
properties.” SAC ¶ 58. This interrogatory should not be difficult to answer: it requests the most
basic information about Inform’s business and is crucial to enabling further inquiry, such as
exploring the factual basis for Inform’s allegations and any identifying needed third party
discovery. In response, however, Inform refused to identify a single partner entity or website,
much less provide the substantive information requested. See Ex. A at 11-12. Inform also
inappropriately points to its initial disclosures as a substitute for providing a response, but
Inform’s initial disclosures do not identify partner websites. Ex. A at 12.

         As a further example, Interrogatory No. 9 asks Inform to identify any direct transactions
that it entered into to fill ad space on these partner websites. In its complaint, Inform alleges that
it made direct ad sales. See, e.g., SAC ¶¶‌‌10 (“Inform’s direct ads”); 12 (“Inform’s lucrative and
guaranteed direct ads”); 13 (“Inform’s direct ad contracts were sabotaged”). Clearly, the
information needed to respond to these interrogatories is fully within Inform’s possession and
should have been marshalled before Inform filed its third attempt at a complaint. Inform,
however, refuses to answer and instead said “if documents do in fact exist, documents responsive
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to this Interrogatory will be produced.” Ex. A at 21. This non-answer is improper for the
reasons provided above. The Court should order Inform to provide complete answers to these
specific and straightforward questions.

           C. Inform must respond to Interrogatories related to Inform’s revenue and the
              impact of digital advertising on its revenue.

       Interrogatory Nos. 2 and 8 ask for basic information about Inform’s revenues and the
supposed impact that the alleged conduct had on Inform’s business. Ex. A at 8, 19. Inform fails
to adequately respond to either of these interrogatories.

       For example, Interrogatory No. 2 asks for Inform’s annual revenue over time, including
“all sources of that revenue and amount of revenue by each source, and including all Digital
Advertising revenue by Format (e.g., video, banner).” Ex. A at 8. Inform provides a
non-response to this request, giving irrelevant background on Inform’s business, including how
many publishers at Inform’s “peak” were part of Inform’s “network.” Ex. A at 10-11. While
Inform states that between 2010 and 2017 it “garnered a revenue of more than $180,000,000,”
Inform only provides an identical annual revenue approximation of $35,000,000 for three
years—2014, 2015, and 2016—which adds up to $105,000,000 (far less than the $180,000,000
in revenue quoted for years 2010 through 2017). Ex. A at 11. Inform also fails to provide any
breakdown of “all sources of that revenue” or the “amount of revenue by each source,” as
requested in the interrogatory. Ex. A at 8. Instead, Inform avers that “revenue information may
not have been kept in the ordinary course of Inform’s records in the particular manner that
Defendants seek.” Ex. E at 2. This hedged response indicates that Inform failed to make even
the most cursory investigation into these requests. Moreover, whatever precise or distinct
manner of revenue record retention Inform is claiming does not excuse Inform’s obligation to
respond to Interrogatory No. 2 with the information within its possession. See JPMorgan Chase
Bank, N.A. v. IDW Grp., LLC, 2009 WL 1422743, at *2 (S.D.N.Y. May 20, 2009) (a party must
“respond to [an] interrogatory based on the information presently available to it.”).

           D. Inform must respond to Interrogatories seeking facts regarding Inform’s use
              of the products and services at issue.

        Interrogatory Nos. 4, 6, 7, 11-13, 16-19 ask for facts regarding Inform’s use of Google’s
and other ad tech products. Google needs to understand the products and services that Inform
used (and that it did not use) for many reasons, including to test Inform’s allegations that it was
affected or harmed by the conduct alleged and that Inform lacked alternatives to Google’s
products.

       For example, Interrogatory No. 7 asks Inform to identify every ad tech provider and ad
tech product that Inform used. This information is potentially relevant to many issues, including
Inform’s claims of relevant markets (e.g., substitution), Inform’s claims that Google has market
power in any alleged market, Inform’s claims that it lacked alternatives to Google, and Inform’s
claims that it was coerced to use Google’s products. Inform’s answer comprises a
non-responsive narrative largely copied from the complaint that does not mention a single ad
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tech product or provider, and a promise to search for documents. Interrogatory No. 12
(described in section II(A) above), is another example. Google needs to know whether Inform
even enabled the product features at issue so that Google can test Inform’s assertions that the
features caused harm. Inform can and should provide this information.

           E. Inform must respond to Interrogatories seeking the facts underpinning
              Inform’s allegations.

        Interrogatory Nos. 5, 14, 21, 22, 23, 25 ask for the facts underlying some of Inform’s
allegations, many of which were only added in Inform’s third attempt at a complaint. See Ex. A
at 14, 26, 35-39, 42-45. For example, Interrogatory No. 14 asks for the facts underlying Inform’s
allegation that Google’s ad server “stalled the pacing of Inform’s guaranteed line items and
jumped over contracted [sic] for direct ad sales.” SAC ¶ 236; see also Ex. A at 26. It asks
Inform to identify any direct contracts that went unfulfilled and contracts that were “jumped
over.” Ex. A at 26. In response, Inform dodges the question and repeats only the unspecific
allegation from its complaint, with a few more adjectives. Ex. A at 26-28 (“Inform’s advertising
inventory was regularly throttled against its instructions unilaterally by Defendants, including
through the clandestine use of their so-called Enhanced Dynamic Allocation”). This is plainly
inadequate. See, e.g., Ohanian, 2022 WL 576314, at *2 (compelling response to interrogatories
requesting “information relating to the harm or injury [Plaintiff] alleges”).

        Similarly, Inform must answer interrogatories asking it to identify the communications or
transactions upon which Inform’s allegations are based. In the SAC, Inform alleges that “Inform
repeatedly reached out to the Google Team with its concerns. And Google would respond
dishonestly or deceptively in an attempt to cover up its illegal behavior.” SAC ¶ 201.
Interrogatory No. 5 asks Inform to identify these alleged communications, among others. Ex. A
at 14. But Inform’s Interrogatory responses do not describe a single instance in which Inform
“reached out” or any response from Google. See Ex. A at 15 (merely noting that Inform is “in
the process of conducting a reasonable and proportional search and/or inquiry for documents”).
These “responses” are improper. See Ohanian, 2022 WL 576314, at *2 (compelling response to
interrogatories “which request that [Plaintiff] identify all documents and communications” relied
upon during the transaction at issue).

           F. Inform must substantively respond to Google’s Local Rule 33.3(a)
              Interrogatory No. 4.

        Inform’s February 1, 2024 response to Google’s Local Rule 33.3(a) Interrogatory No. 4 is
deficient as well as four months late. See Fed. R. Civ. P. 33(b)(2) (“The responding party must
serve its answers and any objections within 30 days after being served with the interrogatories.”).
See Ex J. Google’s Local Rule 33.3(a) Interrogatory No. 4 asks for “each category of monetary
relief that [Inform] seek[s] in [its] Complaint” and a “computation of the amount of each
category of monetary relief sought for each count.” Ex. J at 4. Inform has not sufficiently
responded, but instead simply parrots the complaint’s prayer for relief: “Plaintiff seeks monetary
damages, in an amount to be determined at trial” as well as “pre- and post-judgment interest;
punitive damages; restitution; and litigation expenses.” Id. at 5. Inform asserts that it will
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 provide a further response at an “appropriate time.” Id. But now is the appropriate time. See
 e.g., In re Veeco Instruments, Inc. Sec. Litig., 2007 WL 274800, at *2 (S.D.N.Y. Jan. 29, 2007)
 (“Local Rule 33.3(a) provides in part that interrogatories directed to ‘the computation of each
 category of damage alleged’ are allowed at the commencement of discovery.”). Inform has had
 over five months to respond (and tellingly, has had years to gather this basic information since
 filing its first complaint in 2019), and this Court should now compel it to do so.

III.    Inform’s Objections to Google’s Interrogatories are Facially Invalid, Inaccurate,
        and Inapplicable.

          Inform’s objections are boilerplate and in many instances nonsensical. For instance,
 Inform’s general objections on the grounds of “law enforcement privilege,” “public official
 privilege,” and “public interest privilege,” Ex. A at 3, are facially invalid and wholly
 inappropriate given that Inform is neither a law enforcement agency nor a public official. See In
 re The City of New York, 607 F.3d 923, 944 (2d Cir. 2010) (describing the limit of law
 enforcement privilege to protecting undercover operations and “law enforcement techniques”);
 Gurniak v. Emilsen, 995 F. Supp. 2d 262, 268 (S.D.N.Y. 2014) (public interest privilege involves
 communications and complaints regarding the “conduct of public officials”). Inform also objects
 that it has not received sufficient discovery from Google to enable it to respond to interrogatories
 about its own business. Ex. A at 2. Inform obviously does not need discovery from Google to
 answer questions about its own business and the factual basis for claims in its complaint.

         Inform’s objections to specific interrogatories are also largely inapplicable. For example,
 Inform objects to numerous interrogatories as “premature.” Ex. A at 25, 26, 31, 34
 (Interrogatory Nos. 13, 14, 17, and 20). But Interrogatories seeking information regarding the
 alleged impact of Google’s products on Inform’s business and its purported loss of revenue as a
 result of Google’s alleged conduct, see SAC at ¶¶ 317-18, are exactly the type permitted at this
 stage of litigation. See e.g., In re Veeco Instruments, Inc. Sec. Litig., 2007 WL 274800, at *2.
 Inform also appears to have used irrelevant boilerplate objections without regard to applicability,
 frequently repeating its rote objection that the interrogatories are “overly broad, unduly
 burdensome, and vague” or disproportionate across almost every interrogatory. Ex. A at 4-5, 8,
 12, 13, 16, 18, 20, 21, 23, 27, 29, 30, 32, 34, 43 (Interrogatory Nos. 3-7, 9-10, 12-14, 16-19).
 Courts reject these types of blanket objections. See e.g., Jacoby v. Hartford Life and Acc. Ins.
 Co., 254 F.R.D. 477, 478-79 (S.D.N.Y. 2009) (describing “boilerplate objections that include
 unsubstantiated claims of undue burden, overbreadth and lack of relevance” as a “paradigm of
 discovery abuse.”); see also Shannon v. New York City Transit Auth., 2001 WL 286727, at *1
 (S.D.N.Y. Mar. 22, 2001) (A party “cannot evade its discovery responsibility by simply intoning
 [the] familiar litany that the interrogatories are burdensome, oppressive or overly broad.”)
 (quoting Compagnie Francaise D’Assurance v. Phillips Petroleum Co., 105 F.R.D. 16, 42
 (S.D.N.Y. 1984)).

         Inform has refused multiple opportunities to retract its baseless objections. Exs. E, G and
 I. It cannot hide behind the excuse of being “out of business” any time it wants to evade its
 obligation to respond. It still must make a diligent, reasonable effort to reply in good faith. See
 Williams v. Acxiom Corp., 2017 WL 945017, at *2 (D.N.J. Mar. 10, 2017) (“Although a
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responding party generally is not required to conduct extensive research to answer an
interrogatory, it must make a reasonable effort to respond.”) (internal citations omitted); see also
Munoz v. Coastal Cap. Processing, LLC, 2021 WL 5136269, at *1 (W.D.N.Y. Nov. 4, 2021)
(sanctions appropriate where allegedly “out of business” defendant refused to comply with
discovery orders). Inform, however, has refused to make even a minimal effort to respond. If
Inform is capable of continuing to litigate, it can and must comply with its discovery obligations.

                                              * * *

       Inform has declined every opportunity to supplement its responses and withdraw its
inappropriate objections. The Court should compel Inform to provide supplemental responses to
Google’s First Set of Interrogatories.


                                                      Respectfully submitted,

                                                      /s/ Justina K. Sessions
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                                                      Alphabet Inc., and YouTube LLC

CC: All Counsel of Record (via ECF)
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                   Federal Rule of Civil Procedure 37(a)(1) Certification

       I hereby certify that Defendants Google LLC, Alphabet Inc., and YouTube LLC have in
good faith conferred with Inform Inc. and that the parties have reached an impasse.

                                                 /s/ Justina K. Sessions
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